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                                   UNITED STATE DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 16-CV-21575-FAM

   ALEXANDRE DACCACHE, CARLOS ENRIQUE
   HILLER SANCHEZ, PHILIP CALDERWOOD, JOSE
   ANTONIO PIETRI, JOSE R. CASSERES-PINTO,
   TONGYI WANG, JAMES B. SHAW, JOHANNES
   EIJMBERTS, and LORNE MORRIS, on behalf of
   themselves and all others similarly situated

          Plaintiffs
   v.
   RAYMOND JAMES & ASSOCIATES, INC.,
   PEOPLE’S UNITED FINANCIAL, INC.,
   PEOPLE’S UNITED BANK, ARIEL QUIROS,
   WILLIAM STENGER, and JOEL BURSTEIN,
         Defendants.
   ______________________________________/
           RAYMOND JAMES & ASSOCIATES, INC.’S MOTION TO DISMISS
          Financial institutions are not insurers or sureties of misconduct committed by their
   customers’ authorized agents. Accordingly, Raymond James & Associates, Inc. (“R.J.”) seeks
   dismissal of this suit because it is alleged to be liable for following instructions given by agents
   of its customers, the Limited Partnerships that the Plaintiffs invested in. Plaintiffs’ allegations
   boil down to a theory that R.J. should have known about the alleged Ponzi scheme, but Plaintiffs’
   aiding and abetting, RICO, and conspiracy claims require findings that R.J. actually knew about
   and intentionally assisted the Ponzi scheme with the knowing intent to defraud Plaintiffs.
   Plaintiffs’ allegations do not come close to supporting these claims.
          As a threshold matter, Plaintiffs lack standing because any injury they suffered was
   derivative of injury to the Limited Partnerships as a whole. The claims also fail because the bulk
   of the Limited Partnerships finished construction and opened.           The RICO claim also fails
   because Plaintiffs fail to show that R.J. had a conscious knowing purpose to defraud Plaintiffs, or
   that R.J. caused injury to Plaintiffs. The common law and RICO conspiracy claims also fail
   because they fail to show that R.J. reached agreement with anyone to defraud Plaintiffs.
          Each investor who purchased a Limited Partnership interest did so to acquire U.S.
   citizenship. Each investment was required to create or preserve at least 10 jobs for at least two
   years. Am. Compl. ¶ 51. Thus, for each Phase/Limited Partnership invested in, construction was
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   expected to take at least two years. Out of the seven Phases/Limited Partnerships whose money
   was held in R.J. accounts, “construction is complete and the facilities are operating” for Limited
   Partnerships I through V, construction is partially complete for Limited Partnership VI, and site
   preparation and other work has been done on Phase VII. Initial Compl. ¶ 34.1 Considering that
   construction funds were still being raised for phases VI and VII as of December 2012 and
   beyond, that construction was expected to take at least two years, and that the construction was
   mostly completed, R.J. had no reason to believe that the construction funds were being stolen.
          Plaintiffs bring this action on behalf of all Limited Partnership investors but, collectively,
   they do not hold interests in all of the Limited Partnerships, only Phases II, III, and VII. Am.
   Compl. ¶¶ 9-17, 27, 29, 35, 37. In addition, Plaintiff Wang was a limited partner only in a
   separate development project, Q Burke, whose funds were never held at R.J. Am. Compl. ¶¶ 14,
   110. None of the Plaintiffs was a limited partner in Phases I, III, IV, or IV.
                                            BACKGROUND
          In 2006, Jay Peak, Inc., a company owned by Mont Saint-Sauveur International, Inc.
   (“MSSI”), began selling limited partnership interests to build the Jay Peak Resort. Am. Compl.
   ¶¶ 24, 26, 27. In 2008, Quiros, through his company Q Resorts, Inc., purchased Jay Peak from
   MSSI. The Jay Peak Project involved six hotels and a Biomedical Research facility. Continuing
   the structure formed by MSSI, each of the seven Phases (Phases I – VII) had a separate Limited
   Partnership that was controlled by a General Partner. Am. Compl. ¶¶ 2, 26-38.
          Quiros and Stenger controlled the General Partners. Am. Compl. ¶ 321(a-f). Beginning
   in 2008, Jay Peak and the seven related Limited Partnership entities – through Stenger and
   Quiros – opened investment accounts and agreed to have the Limited Partnerships’ assets
   collateralize margin loans at R.J. Notwithstanding that most of the Jay Peak Project is up and
   running and has created countless jobs, Plaintiffs allege that the entire project was “a front for a
   Ponzi scheme masterminded by Defendant Ariel Quiros ….” Am. Compl. ¶ 1.
          In its Motion to Dismiss the Initial Complaint (D.E. 43), R.J. pointed out that “red flags”
   are insufficient to establish knowledge. R.J. also explained that Plaintiff’s own allegations
   showed that R.J. had no dealings with any investor, had no discretion over the funds placed in its

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     Plaintiff admitted these facts in his Initial Complaint but removed them from the Second
   Amended Complaint after reviewing R.J.’s Motion to Dismiss the Initial Complaint. The
   Receiver’s Complaint, which the Second Amended Complaint references, also makes this
   admission. See Am. Compl. ¶ 6, Receiver’s Complaint ¶ 34, see infra, page 7.
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   accounts, and had no actual knowledge that Stenger and Quiros were supposedly stealing the
   Limited Partnerships’ money. R.J. also pointed out that it played no role whatsoever in the
   Limited Partnerships, and that all of Plaintiff’s allegations were purely conclusory.
          The Amended Complaint fares no better. Plaintiffs still claim that “[b]oth Raymond
   James and Burstein knew that Quiros’s scheme was fraudulent, in part because the high number
   of transactions in the accounts of the Limited Partnerships was out of the ordinary and raised red
   flags . . . .” Am. Compl. ¶ 121.    Even with the new allegations – which are still conclusory –
   Plaintiffs fail to show any knowledge or involvement by R.J. in the alleged Ponzi scheme.
          One of Plaintiffs’ major complaints is that Stenger’s delegation of authority to Quiros
   was improper, and that R.J. knew or should have known that it was improper. Plaintiffs vaguely
   allege that R.J. was provided with “sufficient portions of the offering materials for all of the
   Limited Partnerships” to be on notice that “the investors were unaware that their capital
   contributions would be under the exclusive control of Quiros.” Am. Compl. ¶ 251(c) and (e).
   Plaintiffs do not specify what materials were supposedly provided to R.J. or recite the language
   that supposedly informed R.J. of this supposed prohibition. Nor do they allege that R.J. actually
   read those legal documents, or why, in the face of Quiros having been given authority to manage
   the Limited Partnerships’ money, they were even required to read through the offering materials
   and adhere to any supposed restrictions not found in the account opening documents.
          But even if R.J. had read the offering materials, and those materials did not affirmatively
   state that Quiros would be managing the Limited Partnerships’ money, it does not follow that the
   offering materials prohibited Quiros from managing the money. Moreover, the reality is that,
   even without the delegation, Quiros was authorized to act for the Limited Partnership, as
   admitted by Plaintiff in his Initial Complaint. See Initial Compl. ¶ 15. (“[T]hrough Jay Peak,
   Inc., Quiros controlled each of the Jay Peak general partners and limited partnerships.”).
          Despite that R.J. was not involved with the creation or dissemination of the offering
   materials, see, e.g., Am. Compl. ¶¶ 2, 91, Plaintiffs artfully attempt to make R.J. appear far more
   involved. Plaintiffs, for instance, attempt to characterize R.J.’s opening of accounts to hold the
   Limited Partnerships’ money as R.J. “devising” a “financial structure for the Limited
   Partnerships that they would implement to raise financing for the EB-5 Projects.” Am. Compl. ¶
   52. Plaintiffs also question R.J.’s provision of margin loans and agreement to collateralize the
   loans with assets in the Limited Partnership accounts because it allowed Quiros to commingle


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   funds and because the offering documents allegedly said that the Partnerships could not pledge
   investor funds as collateral. Again, R.J. did not prepare or provide any offering materials, is not
   named in the offering materials, and otherwise had nothing to do with the offering materials.
   Knowledge of commingling is insufficient to show actual knowledge of fraud.
          Plaintiffs also allege that, once the money was in the R.J. accounts, R.J. helped hide the
   alleged fraud by using an intricate web of transfers among various accounts to disguise that the
   projects were experiencing shortfalls. Am. Compl. ¶ 4. For this to plausibly support liability,
   however, Plaintiffs must allege that they were actually reviewing account information from R.J.,
   that the information was misleading, and that R.J. had knowledge of this and an intent to deceive
   Plaintiffs. Plaintiffs do not make any such allegation, because they had no dealings with or
   awareness of R.J.
          Plaintiffs also allege that a lawyer for MSSI told R.J., in June 2008, that the assets in the
   MSSI Raymond James Suites Phase I account and those transferred into a Phase II account could
   not be used to fund the acquisition of Jay Peak and that the funds had to be used in accordance
   with the Limited Partnership agreements. Am. Compl. ¶ 60. Again, Plaintiffs do not explain
   why R.J. was required to monitor the use of funds against the Partnership agreements or to honor
   those instructions rather than the instructions given by Stenger, who had authority and delegated
   it to Quiros. Furthermore, this allegation relates to only Phases I and II, but those Partnerships
   suffered no injury because the associated hotels are open and operating. Initial Compl. ¶ 34.
          In short, Plaintiffs fail to plead that R.J. had actual knowledge that the Jay Peak project
   was supposedly “a front for a Ponzi scheme . . . .” On the contrary, the allegations that Plaintiffs
   deleted from their Initial Complaint – those showing all of the work being done and the jobs
   being created on the Jay Peak Project – demonstrated that R.J., along with many others, had
   every reason to believe that the Jay Peak Limited Partnerships were performing properly.
                                             ARGUMENT
   I.     Plaintiffs Lack Standing to Bring Any of their Claims.
          Just as the law prevents a limited partner from being sued in his or her individual capacity
   for liabilities caused by the limited partnership, it also prevents the limited partner from suing in
   his or her individual capacity for injuries suffered by the limited partnership. To have standing, a
   shareholder must demonstrate a distinct injury that did not flow from an initial injury to the
   company and an injury special and unique from injury suffered by other shareholders:


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           [A]n action may be brought directly only if (1) there is a direct harm to the
           shareholder or member such that the alleged injury does not flow subsequently
           from an initial harm to the company and (2) there is a special injury to the
           shareholder or member that is separate and distinct from those sustained by the
           other shareholders or members.

   Dinuro Investments, LLC v. Camacho, 141 So. 3d 731, 738–40 (Fla. 3d DCA 2014).2 See also
   Harris v. Orange, S.A., 636 F. App’x. 476, 482-83 (11th Cir. 2015) (where primary alleged
   injuries flowed from diminution in the value of shares, claim is derivative).
           “This rule applies with equal force in the case of partnerships.” Ball v. Field, 1992 WL
   57187, at *8 (N.D. Ill. 1992)) (citing Klebanow v. New York Produce Exch., 344 F.2d 294, 297
   (2d Cir. 1965)); see also Lewis v. Seneff, 654 F. Supp. 2d 1349, 1363 (M.D. Fla. 2009) (“Limited
   partners are not directly injured when they are damaged only to the extent of their proportionate
   interest in the partnership.”) (internal citation omitted).
           Plaintiffs concede that each investor became a Limited Partner in one of the seven
   Limited Partnerships. See Am. Compl. ¶ 39 (“Phases I through VII are collectively referred to as
   the ‘Jay Peak Limited Partnerships’ and “[e]ach investor in Phases I through VII became a
   Limited Partner.”).     Plaintiffs confirm that, after they purchased their Limited Partnership
   interests, they sent their money to Limited Partnership accounts at People’s Bank. See Am.
   Compl. ¶ 102 (when “an investor wired money to People’s Bank, the confirmation identified the
   beneficiary…as the specific limited partnership to which the investor had contributed funds….”).
           Plaintiffs also concede that when Stenger transferred the Limited Partnerships’ money
   from People’s Bank to R.J., the money was held in Limited Partnership accounts at R.J. See,
   e.g., Am. Compl. ¶ 90 (referring to “the [R.J.] accounts for the Limited Partnerships.”); ¶ 94
   (referring to “the monies invested in the Limited Partnerships”).
           Plaintiffs further claim that, once the Limited Partnerships’ money was in the R.J.
   accounts, Quiros misappropriated the Limited Partnerships’ money to (1) finance his purchase of
   the Jay Peak resort, (2) back a personal line of credit to pay his income taxes, (3) purchase a
   luxury condominium, (4) pay taxes of a company he owns, and (5) pay off margin loans that he
   established without authority. Am. Compl. ¶ 3; see also Am. Compl. ¶ 62 (alleging that Quiros


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     Vermont law is no different. See Bovee v. Lyndonville Sav. Bank & Trust Co., 811 A.2d 143,
   145-46 (Vt. 2002) (“To have standing to sue individually, the shareholder must allege an injury
   separate and distinct from other shareholders….”).
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   used “$12.4 million from Phase I and $9.5 million from Phase II to fund the vast majority of his
   purchase of Jay Peak, Inc.”); ¶ 88 (“Quiros transferred $4.2 million from the Phase VII account
   to pay corporate taxes … even though Phase VII was in no way responsible for these tax
   liabilities.”); ¶ 89 (“Quiros took funds from the Phase VII account at Raymond James… to pay
   off Margin Loan IV.”) Thus, if R.J. is somehow liable for allowing money to be misappropriated
   from its accounts, it was the Limited Partnerships’ money, not the money of individual investors.
          That the alleged injury was to the Limited Partnerships as a whole is further confirmed by
   the fact that any rights that Plaintiffs claim were violated were rights they had by virtue of being
   Limited Partners and rights that allegedly stemmed from the Limited Partnership agreements.
   See, e.g., Am. Compl. ¶ 77 (“Quiros’s establishment of the margin loans violated the terms of the
   written Limited Partnership Agreement applicable to each Limited Partnership.”); ¶ 97 (“Each
   Limited Partnership Agreement prevented the General Partner, without consent of the Limited
   Partners in each Limited Partnership, from: (1) borrowing from or commingling funds; (2)
   acquiring any property with investor funds that does not belong to the Limited Partnership, other
   than as specifically authorized in the agreement; or (3) mortgaging, conveying or encumbering
   Limited Partnership property that was not real property.”) Thus, any injury allegedly suffered by
   Plaintiffs by Quiros’s alleged misappropriation of the Limited Partnerships’ money flowed from
   an injury to the Limited Partnerships and from Plaintiffs’ derivative rights as Limited Partners.
          The case law is clear that claims of authorized agents absconding with an entity’s money
   are claims belonging to the entity, not the individuals who invested in the entity:
          This claim … alleges that the … managers and directors of the entities …
          abscond[ed] with funds invested in IDT and Brandaid.               This claim is
          indistinguishable from the myriad claims of self-dealing and mismanagement that
          courts have held may only be brought as derivative claims. . . . The loss of value
          to these Plaintiffs’ investment in IDT and Brandaid is indistinguishable from the
          loss to all other investors who were similarly harmed when funds were transferred
          from the corporate account to personal accounts of the defendants.

   Medkser v. Feingold, 307 F. App’x. 262, 265 (11th Cir. 2008); see also Cowin, 741 at 416 (self-
   dealing and diversion of assets are “fundamentally claims belonging to the corporation …”).
          The Receiver appointed for the Partnerships has already brought the same claims – aiding
   and abetting Quiros, RICO, and common law and RICO conspiracy claims – against R.J. in
   Michael I. Goldberg, as Receiver v. Raymond James Financial, Inc., Case No. 16-CV-21831-



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   JAL. See Am. Compl. ¶ 6. Allowing Plaintiffs in this case to sue on the same claims and for the
   same conduct would interfere with the Receiver’s case and subject R.J. to double liability.
   II.    R.J. Was Entitled to Follow Quiros’s Instructions.
           It is settled law that “[t]he public have a right to rely upon an agent’s apparent
   authority….” Indus. Ins. Co. of N. J. v. First Nat. Bank of Miami, 57 So. 2d 23, 26 (Fla. 1952)
   (quoting Aetna Ins. Co. v. Holmes, 59 Fla. 116, 116, 52 So. 801 (1910)). “Apparent or ostensible
   authority arises where a principal allows or causes others to believe the agent possesses such
   authority, as where the principal … by his actions or words holds the agent out as possessing it.”
   Singer v. Star, 510 So. 2d 637, 640 (Fla. 4th DCA 1987).
          These fundamental agency doctrines protect a financial institution that relies upon the
   instructions of its customers’ authorized agents. See, e.g., O’Halloran v. First Union National
   Bank of Florida, 350 F.3d 1197, 1205 (11th Cir. 2003) (“[A] bank … has the right to assume that
   individuals who have the legal authority to handle the entity’s accounts do not misuse the
   entity’s funds….”). Plaintiffs’ Amended Complaint makes clear that Quiros had authority to act
   for the Limited Partnerships. It concedes that (1) “[e]ach of the General Partners is controlled …
   by Defendants Quiros and Stenger,” Am. Compl. ¶ 321, (2) Stenger is the President of the
   General Partner of the Phase I and II Limited Partnerships, Am. Compl. ¶ 321(a), and (3) Stenger
   is the “director and only principal” of the General Partners of the Phase III, IV, V, VI and VII
   Limited Partnerships. Am. Compl. ¶ 321(b-f). Quiros, along with Stenger, is also the managing
   member of the General Partner of Phase VII. Am. Compl. ¶¶ 38, 321(f).
          Plaintiffs further allege that “Stenger, as the sole principal of the General Partners …
   ceded control of the funds to Quiros” and had control over the accounts and approved the
   transfer of the funds to an account at R.J. over which only Quiros had control. Am. Compl. ¶¶
   59, 74, 75. Considering that the Limited Partnerships sent the money to the R.J. accounts with
   knowledge that Quiros alone had authority over the accounts, R.J. had every reason to believe
   that Quiros had the authority.
   III.   The Phases I through V Limited Partnerships Suffered No Losses.
          As discussed above, Plaintiff Daccache admitted in his initial Complaint that construction
   for the first five phases (the Phase I through V Limited Partnerships) was completed and the
   Projects were operating. Initial Compl. ¶ 34. R.J. pointed to these facts in its initial Motion to
   Dismiss, and Plaintiffs removed those allegations from their Amended Complaint. But the


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   Plaintiffs who invested in any of the Phase I through V Limited Partnerships – Plaintiffs
   Daccache (Phase III), Calderwood (Phase II), Shaw (Phase II) – cannot escape these facts, and
   their claims must be dismissed because they suffered no injury. See Fernandez v. School Bd. of
   Miami-Dade County, 2016 WL 4417632 n. 1, __ F. Supp. 3d __ (S.D. Fla. Aug. 19, 2016)
   (finding that facts alleged by plaintiffs in their first amended complaint that demonstrated
   applicability of defenses to claims but removed by plaintiffs in their amended complaint would
   not be ignored by court in ruling on motion to dismiss second amended complaint).
   IV.    Plaintiffs Fail to Plead Plausible Claims for Aiding and Abetting Fraud3 (Count II)
          and Aiding and Abetting a Breach of Fiduciary Duty (Count V).

          “In order to establish a claim for aiding and abetting, the plaintiff must establish that the
   aider and abettor had knowledge of the underlying breach of fiduciary duty or fraud, and that the
   aider and abettor substantially assisted or encouraged commission of the breach or fraud.” Lamm
   v. State St. Bank & Trust Co., 889 F. Supp. 2d 1321, 1332 (S.D. Fla. 2012).
          To survive a motion to dismiss, a complaint must contain sufficient factual matter to
   “state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.
   544, 570 (2007). In addition, “courts may infer from the factual allegations in the complaint
   ‘obvious alternative explanation[s],’ which suggest lawful conduct ….” Am. Dental Ass’n v.
   Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010).
          A. Plaintiffs Fail to Plead Facts Showing Actual Knowledge by R.J.
          The underlying breaches that R.J. are alleged to have aided and abetted are the same for
   the fraud and fiduciary duty claims – the misappropriation of the Limited Partnership money
   through a Ponzi scheme masterminded by Quiros. Am. Compl. ¶ 251 (referring to fraud by
   Quiros); ¶ 268 (referring to the breach of fiduciary duty that the General Partners committed by
   commingling, misappropriating, and misusing the Limited Partnerships’ money). To support
   aider and abettor liability against R.J., Plaintiffs must allege facts showing that R.J. had actual
   knowledge that Quiros was operating a Ponzi scheme and was stealing the Limited Partnerships’
   money. “Conclusory statements that a defendant ‘actually knew’ [are] insufficient to support an
   aiding and abetting claim where the facts in the complaint only suggest that the defendant
   ‘should have known’ that something was amiss.” Lamm, 889 F. Supp. 2d at 1332. (citing

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    It is unclear whether Florida even recognizes a cause of action for aiding and abetting fraud.
   Lamm v. State St. Bank & Trust, 749 F.3d 938, 950 (11th Cir. 2014).
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   Platinum Estates, Inc. v. TD Bank, N.A., No. 11–60670–CIV, 2012 WL 760791, at *3 (S.D. Fla.
   Mar. 8, 2012)). Nor can the allegations showing actual knowledge be based on mere supposition
   or belief. See, e.g., Hines v. FiServ, Inc., No. 808-CV-2569-T-30AEP, 2010 WL 1249838, at *4
   (M.D. Fla. Mar. 25, 2010) (“Plaintiffs are directed to specifically state whether it is claiming that
   FiServ had actual knowledge. If Plaintiffs make that claim without adequate investigation, of
   course, they are subject to Rule 11 sanctions.”).
          Here, Plaintiffs fail to allege facts showing that R.J. had actual knowledge. Plaintiffs
   instead sprinkle the phrase “knowing assistance” throughout the Amended Complaint to describe
   R.J.’s actions, Am. Compl. ¶ 2, 62, 71, 81, 85, but those purely conclusory allegations must be
   disregarded. See Am. Dental Ass’n, 605 F.3d at 1294 (noting that, under Iqbal, bare allegations
   are not entitled to a presumption of truth and should be ignored under Twombly) (citing
   Twombly, 550 U.S. at 557, Ashcroft v. Iqbal, 556 U.S. 662 (2009)).
          Plantiffs also point to the fact that Burstein was then the son-in-law of Quiros. Am.
   Compl. ¶ 251 (a). This, too, is nothing more than implausible innuendo that R.J. should have
   known. As discussed above, Plaintiffs also claim that R.J. was provided with “sufficient portions
   of the offering materials … to understand the nature of the Jay Peak investment projects,” and
   that the offering materials demonstrated that (1) “the investors were unaware that their capital
   contributions were being commingled….,” and (2) “that the investors were unaware that their
   capital contributions would be under the exclusive control of Quiros.” Am. Compl. ¶ 251(c-e).
   As also discussed above, Plaintiffs fail to actually identify what specific materials or documents
   were provided to R.J. and what those documents said. But, as also mentioned above, even if the
   offering materials did not expressly affirmatively state that Quiros would be managing the
   Limited Partnerships’ money, that is a far cry from the offering materials actually prohibiting
   Stenger from delegating the authority to manage the money to Quiros.
          Moreover, assuming that R.J. was required to and actually did read the offering materials,
   Plaintiff Daccache conceded in his Initial Complaint that those materials would have informed
   R.J. that Jay Peak, Inc. – which was owned by Quiros – was entitled to receive $3.7 million of
   the funds raised from the investors in the Phase III Limited Partnership “for its own use.” Initial
   Compl. ¶ 142. And that was just from one of the Limited Partnerships. Moreover, as Quiros
   pointed out in his Motion to Dismiss the Initial Complaint, the Limited Partnership Agreements
   afford the General Partners broad discretion in running the construction of the projects, including


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   executing agreements and conveying partnership property, and expressly authorize transactions
   with affiliates of the General Partners. See D.E. 34 at 4-6. Thus, if R.J. actually had the
   knowledge of the offering materials that Plaintiffs claim it should have had, that knowledge
   would only weaken Plaintiffs’ allegations that there was something suspicious about funds being
   commingled or “diverted” to Jay Peak or other affiliates.
          Moreover, even if all of the voluminous offering materials and Limited Partnership
   agreements were provided to R.J., Plaintiffs fail to allege that anyone at R.J. actually read or
   understood them, or was even required to read or understand them.4 In other words, this, too,
   amounts to nothing more than an allegation that R.J. should have known, which is insufficient to
   establish actual knowledge. See, e.g., In re Palm Beach Fin. Partners, L.P., 488 B.R. 758, 773
   (Bankr. S.D. Fla. 2013) (“The Plaintiff asserts that M & I knew of the manner in which the
   Petters purchase financing transactions were conducted and of the ‘representations, recitals and
   responsibilities’ contained in the DAMA. Neither of these allegations indicate that anyone at M
   & I had actual knowledge of Petters’ fraud. Instead, they merely suggest that M & I should have
   known of Petters’ fraud had they been paying closer attention….”).
          In Lawrence v. Bank of America, 455 F. App’x. 904 (11th Cir. 2012), the Eleventh
   Circuit confirmed a financial institution is not required to investigate its customer’s transactions:
          [W]e agree…that Plaintiffs’ allegations fall short of Twombly’s requirements.
          Plaintiffs alleged that Bank of America authorized numerous deposits,
          withdrawals, and wire transfers involving large amounts of money and …
          received substantial commissions. Although Plaintiffs alleged the transactions
          were atypical and therefore Bank of America should have known of the Ponzi

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     Plaintiffs reference FINRA and “Know Your Customer” regulations, but fail to allege that these
   regulations required R.J. to read the offering materials or Limited Partnership Agreements. Even
   assuming that it was R.J.’s policy to carefully review all of that material, the failure would not
   support actual knowledge. See, e.g., El Camino Res., LTD. v. Huntington Nat. Bank, 722 F.
   Supp. 2d 875, 923 (W.D. Mich. 2010), aff'd, 712 F.3d 917 (6th Cir. 2013) (“[C]ourts have
   routinely rejected the notion that a bank’s failure to execute a duty to investigate, whether that
   duty is alleged to arise from federal regulation or from the bank’s own internal policies,
   somehow satisfies the actual knowledge standard.”); Chance World Trading E.C. v. Heritage
   Bank of Commerce, 438 F. Supp. 2d 1081, 1086 (N.D. Cal. 2005), aff'd, 263 F. App’x. 630 (9th
   Cir. 2008) (bank’s failure to comply with “internal policies … cannot constitute knowledge that
   Ms. Yadav-Ranjan was engaged in any fraudulent activity.”). On the contrary, “[know your
   customer] rules … are intended to protect the banks and the general public from harm. They
   were not created to protect borrowers from harm done by co-borrowers. These rules therefore
   cannot form the basis for a negligence claim in this case.” Silverman Partners, L.P. v. First
   Bank, 687 F. Supp. 2d 269, 282 (S.D. Fla. 2010).
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          scheme, such allegations are insufficient under Florida law to trigger liability.
          Florida law does not require banking institutions to investigate transactions…To
          be liable, the bank would have had to have actual knowledge of Diamond’s
          fraudulent activities. These allegations simply fail to make that “plausible.”

   Lawrence, 455 F. App’x. at 907 (emphasis added).
          In Lamm v. State Street Bank, the Eleventh Circuit affirmed dismissal with prejudice of
   similar claims and rejected the notion that a financial institution is to be “an extra pair of eyes”
   over an account as to which it exercises no discretion. Citing cases from many other courts, the
   Eleventh Circuit held that there was no duty to monitor irregular transactions and, therefore, red
   flags do not permit an inference of actual knowledge. Lamm, 749 F.3d at 947-51.
          Following Lawrence and Lamm, the Eleventh Circuit rejected similar aiding and abetting
   claims in Perlman v. Wells Fargo Bank, 559 F. App’x. 988, 993-94 (11th Cir. 2014). In that
   case, a Ponzi schemer named George Theodule opened four accounts at Wells Fargo for a
   company named Creative Capital, representing them as relating to “investment business” and
   “securities/commodities business” activity. 559 F. App’x. at 991. Over the next few weeks, 36
   “feeder accounts” were opened, and from those feeder accounts, $2.2 million was transferred to
   the Creative Capital accounts. Id. at 991.
          Within six weeks, Wells Fargo noted in internal documents suspicious transfers in one of
   the “feeder” accounts but continued to allow them based on a business plan that contained
   numerous obvious inconsistencies. Perlman, 559 F. App’x. at 991. Over the next few months,
   more than $10 million was deposited and withdrawn, with substantial portions being disbursed
   directly to Theodule and his wife. Id. Over the course of his 5-month relationship with Wells
   Fargo, the principal transferred more than $38 million through the accounts. Id. Even on these
   facts, the Eleventh Circuit affirmed the trial court’s dismissal, holding that while the allegations
   might show that Wells Fargo should have known about the Ponzi scheme, they failed to establish
   that Wells Fargo had actual knowledge of the Ponzi scheme because red flags and other oddities,
   including numerous transfers through different accounts and commingling, are insufficient:
          Perlman alleges … Theodule’s opening of various accounts, numerous transfers
          amongst the accounts within short time periods, thousands of deposits of even
          dollar amounts, large cash deposits and withdrawals, the absence of any
          investment activity, and Wells Fargo’s lifting of the freeze on the Wealth Builders
          account without further investigation. These allegations fall short of raising a
          plausible inference that Wells Fargo actually knew that Theodule was engaging in
          fraudulent activity. At most they list facts that could arouse suspicions, and are

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          not sufficient to trigger any obligation by Wells Fargo to investigate. While these
          “red flags” may have put the bank on notice that some impropriety may have been
          taking place, those alleged facts do not create a strong inference of actual
          knowledge....

   Id. at 993-94 (11th Cir. 2014) (emphasis added, citations and quotation marks omitted).5
          Finally, in O’Halloran v. First Union National Bank of Florida, the Eleventh Circuit
   noted that a bank must be able to assume that those with legal authority over the accounts do not
   misuse the money they control, and made clear that, when a financial institution follows the
   instructions of those with authority over the accounts, it cannot be liable for any wrongdoing
   subsequently committed by those with authority, and dismissal of the claims is appropriate:
          [A] bank can only really complete transactions with natural persons and has the
          right to assume that individuals who have the legal authority to handle the entity’s
          accounts do not misuse the entity’s funds…. The bank is responsible only for
          making sure that the employee, at the time of the withdrawal, has the authority to
          make withdrawals on behalf of the accountholder entity.
                                         .     .       .
          Here, however, we find that the complaint … clearly alleges that Payne was …
          fully authorized by Greater Ministries to act on its behalf, and we agree with First
          Union that these allegations foreclose the possibility of the trustee prevailing on
          any of his theories…. First Union is not responsible for Payne’s diverting funds
          to his own purposes … and dismissal of this claim was appropriate.

   O’Halloran, 350 F.3d at 1205 (emphasis added.)
          Plaintiffs rest on a theory that R.J. should have been on notice of possible improprieties
   because of the number of fund transfers, the use of multiple accounts, the use of margin, and the
   commingling of funds, including the use of funds to acquire Jay Peak. Am. Compl. ¶ 121. At
   best, this is an allegation of “red flags,” but “red flags,” including the commingling of funds and
   numerous or large transfers, are not enough to establish aider and abettor liability against a

   5
     See also Freeman v. JP Morgan Chase Bank, N.A., 137 F. Supp. 3d 1284, 1296-97 (M.D. Fla.
   2015) (“The Court agrees with the Bank that this is a case involving mere allegations of atypical
   transactions similar to those addressed in Lawrence. Freeman’s evidence amounts to little more
   than unusual banking activity, such as the Bank’s customer providing misleading information
   when opening his accounts and a wire-transfer of a large sum of money to a location determined
   to be ‘high risk.’ This evidence standing alone does not raise an inference of actual knowledge
   under Florida law.”) Notably, the Eleventh Circuit also held in Perlman that, based on the
   plaintiff’s proposed amended complaint, which alleged that the bank’s Vice President, among
   other things, suspected unlawful activity and contacted law enforcement because the unusual
   activity “raised the hair on the back of your neck,” the plaintiff should be given leave to amend.
   Perlman, 559 F. App’x. at 995-96. There are no such allegations here.
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   financial institution. See Wiand, 938 F. Supp. 2d at 1248 (“Commingling of funds, even where
   the bank knows that the customer holds the funds in a fiduciary or trust capacity, is not
   necessarily prohibited and is insufficient to allege knowledge of an underlying fraud.”) (citing
   Atlanta & St. A.B. Ry. Co. v. Barnes, 95 F.2d 273, 275 (5th Cir. 1938) (“The bank may and
   should assume the customer’s honesty and correct conduct of his business. That a trustee, with
   the bank’s knowledge, deposits trust money in his individual account it [sic] not always nor ipso
   facto a conversion of it.”)). (Emphasis added).
          Here, just as in O’Halloran, Plaintiffs concede that Stenger, who had actual authority
   over the Limited Partnership money, delegated that authority to Quiros. As in Lamm, R.J. had
   no discretion to invest the funds, and R.J. was entitled to assume that Quiros was not stealing
   funds unless it had actual knowledge that he was. Considering that numerous hotels, a water
   park, an ice rink, a golf clubhouse, an activities center, a bar and restaurant, cottages, a chapel,
   townhouses, a parking garage, and a café were built and opened, (Initial Compl. ¶ 34), it is hard
   to see how the Plaintiffs can support actual knowledge by R.J., especially because the Court is
   free to infer from the factual allegations in the complaint “obvious alternative explanations
   which suggest lawful conduct rather than the unlawful conduct the plaintiff would ask the court
   to infer.” Am. Dental., 605 F.3d at 1290 (internal quotation marks omitted).
          B. Plaintiffs Fail to Plead Substantial Assistance by R.J.
          To plead substantial assistance, the allegations must demonstrate that the defendant
   “affirmatively assists, helps conceal or fails to act when required to do so, thereby enabling the
   [underlying violation] to occur.” BCJJ, LLC v. LeFevre, No. 09–CV–551, 2012 WL 3071404, at
   *34 (M.D. Fla. July 27, 2012). If the defendant is a financial institution, the requirement cannot
   be satisfied merely by permitting a wrongdoer to “create accounts, transfer funds among
   accounts, and make withdrawals from accounts.” Freeman v. JP Morgan Chase Bank, N.A., 137
   F. Supp. 3d 1284, 1298-99 (M.D. Fla. 2015) (because the bank did not conceal its customer’s
   fraud, it could not have substantially assisted the fraud); Lamm v. State St. Bank & Trust Co., 889
   F. Supp. 2d 1321, 1333 (S.D. Fla. 2012) (“[T]he substantial assistance prong cannot be
   established where, as here, State Street had no duty to disclose the alleged irregularities in the
   transactions.”); Groom v. Bank of Am., No. 8:08-CV-2S67-JDW-EAJ, 2012 WL 50250, at *4
   (M.D. Fla. Jan. 9, 2012) (“Plaintiffs’ assertion that the Defendant banks ‘made it possible for
   Pearlman and his cohorts to deposit vast sums of money’ is likewise insufficient. This is, at


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   most, a conclusory allegation that the banks permitted a customer to engage in suspicious
   transactions, which fails to establish substantial assistance.”).
          Plaintiffs allege that R.J. should be held liable for setting up Quiros’s bank structure,
   permitting margin loans, and executing the transfers directed by Quiros. This is insufficient to
   constitute “substantial assistance” by R.J. Plaintiffs’ claim that R.J. helped conceal Quiros’s
   alleged theft by using a misleading web of transfers to hide the dissipation of money is not
   plausible because Plaintiffs admit that they did not even have access to any R.J. account
   information and did not even know about the existence of R.J. Plaintiffs have failed to allege
   facts sufficient to show “substantial assistance” by R.J.
   V.     Plaintiffs Fail to Sufficiently Plead a Claim for Civil Conspiracy (Count VII).
          In the absence of allegations of an actual agreement to do an unlawful act, a civil
   conspiracy claim must be dismissed. See Russo v. Fink, 87 So. 3d 815, 819 (Fla. 4th DCA 2012)
   (“[T]he complaint merely states that ‘Leonard Fink and Marilyn Fink conspired in concert with
   full knowledge of each other’s action[s]’.... Because [the complaint] never alleged that there was
   an agreement, it has failed to allege sufficient facts with respect to the conspiracy count.”)
          Conspiracy claims must also be pleaded with enough specificity to notify a defendant
   about the time, place, and persons involved in making the conspiratorial agreement, and to show
   that an actual agreement was reached. See Twombly, 550 U.S. at 565 n. 10 (noting that a
   defendant responding to conspiracy claims “would have little idea where to begin” where the
   pleadings “mentioned no specific time, place, or person involved in the alleged conspiracies.”);
   Fullman v. Graddick, 739 F.2d 553, 557 (11th Cir. 1984) (“A complaint may justifiably be
   dismissed because of the conclusory, vague and general nature of the allegations of conspiracy.”)
          Moreover, where the conspiracy alleged involves fraud, the pleadings must also satisfy
   Rule 9(b)’s heightened pleading requirements. See Am. United Life Ins. Co. v. Martinez, 480
   F.3d 1043, 1064–65 (11th Cir. 2007) (“[A]s the district court noted, where a conspiracy claim
   alleges that two or more parties agreed to commit fraud, the plaintiff must also plead this act with
   specificity.”); see also Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001)
   (“Rule 9(b) is satisfied if the complaint sets forth (1) precisely what statements were made …
   and (2) the time and place of each such statement and the person responsible for making (or, in
   the case of omissions, not making) same ….”).
          Here, Plaintiffs generally allege a conspiracy among Quiros, R.J., Burstein, and People’s


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   Bank to fraudulently induce Plaintiffs into investing millions of dollars, Am. Compl. ¶¶ 283,
   284, but fail to specifically allege the existence of any conspiratorial agreement. In conclusory
   fashion, Plaintiffs allege only that “[a]n agreement was made in the first half of 2008 by Quiros
   with each of Raymond James, Burstein, and People’s Bank to induce Plaintiffs and the Class into
   investing millions of dollars into the Limited Partnerships and to commit the fraud…” Id. ¶ 284.
   By alleging “the first half of 2008” as the time of the making of the alleged conspiratorial
   agreement, Plaintiffs have failed to sufficiently allege when the agreement was made. Nor do
   Plaintiffs allege the place where any supposed agreement was made, or whether the supposed
   agreement was made with the alleged co-conspirators at the same time or place.
          Moreover, based on the artful allegation that Quiros made an agreement “with each of”
   R.J., Burstein, and People’s Bank, it is not even clear whether there was one agreement among
   all of the alleged co-conspirators, or multiple different agreements with each alleged co-
   conspirator. Nor has Plaintiff alleged sufficient facts to make it plausible that any agreement was
   actually reached with anyone. See Albra v. City of Fort Lauderdale, 232 F. App’x. 885, 890–91
   (11th Cir. 2007) (“The plaintiff … must show some evidence of agreement between the
   defendants. To allege a conspiracy, a plaintiff must make ‘particularized allegations’ that are
   more than vague or conclusory.”) Plaintiffs’ allegations are nothing but conclusory, and the
   conspiracy count must accordingly be dismissed.
   VI.    Plaintiffs Have Failed to Sufficiently Plead a Substantive RICO Claim (Count XII).
          After R.J. filed its initial Motion to Dismiss, Plaintiffs dropped their Federal RICO claim
   and added a Florida RICO claim. The claim fares no better because the same standards apply,
   and Plaintiffs’ allegations are just as conclusory. See Rogers v. Nacchio, 241 F. App’x. 602, 607
   (11th Cir. 2007) (“Because § 772.103 is patterned after the federal RICO statute, the Florida
   courts have looked to decisions interpreting the federal statute in interpreting § 772.103.”).6
          Just like a Federal RICO claim, a Florida RICO claim predicated on fraud must satisfy
   Rule 9(b)’s heightened pleading requirements. See Rogers, 241 F. App’x. at 608 (applying Rule
   9(b) to Florida RICO claim and affirming trial court’s dismissal of Florida RICO claim for
   plaintiff’s failure to plead specific facts to support the claim). As discussed more fully below, to


   6
    See also O’Malley v. St. Thomas University, Inc., 599 So. 2d 999, 1000 (Fla. 3d DCA 1992)
   (“Since Florida RICO is patterned after federal RICO, … federal decisions should be accorded
   great weight”).
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   state a substantive RICO claim based on fraud, Plaintiffs must plead – with heightened
   particularity7 – sufficient facts to demonstrate a plausible case that the defendant: (1)
   participated in the RICO enterprise’s affairs (2) with a conscious knowing intent to defraud (i.e.,
   scienter) (3) through deception (i.e., “racketeering activity”), and (4) the deception directly
   injured the plaintiff.   These elements must be alleged “with respect to each defendant’s
   participation in the fraud.” Am. Dental Ass’n, 605 F.3d at 1291 (emphasis added).
          A. Plaintiffs Fail to Plausibly Allege Facts Showing That R.J. Acted with a
             Conscious Knowing Intent to Defraud (i.e., Scienter).

          In RICO claims based on fraud, the allegations must demonstrate “a conscious knowing
   intent to defraud” (i.e., scienter) by the defendant. See Pelletier v. Zweifel, 921 F.2d 1465, 1498-
   99 (11th Cir. 1991) (“Mail or wire fraud occurs when a person (1) intentionally participates in a
   scheme to defraud another of money or property…. [T]he defendant must have “had a
   ‘conscious knowing intent to defraud.’”) (emphasis added); see also Liquidation Comm’n of
   Banco Intercontinental, S.A. v. Renta, 530 F.3d 1339, 1354 (11th Cir. 2008) (“The predicate acts
   … – mail and wire fraud … – each require proof of scienter.”).
          Allegations demonstrating a “conscious knowing intent to defraud” cannot be
   conclusory. See Republic of Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 949
   (11th Cir. 1997) (“Panama’s conclusory allegation that the BCCI defendants acted ‘in concert
   with the First American defendants’ … is insufficient to establish the requisite intent. A RICO
   plaintiff’s allegations of scienter cannot be ‘merely conclusory and unsupported by any factual
   allegations.’”) (quoting O’Malley v. O’Neill, 887 F.2d 1557, 1560 (11th Cir. 1989)).
          Plaintiffs allege only that R.J. set up a banking structure allowed by Stenger, executed the
   transfers that Quiros requested, and ignored supposed red flags. None of these create any
   inference that R.J. had any conscious knowing intent to defraud, especially in light of the facts
   that (i) the accounts were authorized by Stenger on behalf of the Limited Partnerships, (ii) the
   projects were being built and operated, and (iii) R.J. was not involved in any of the allegedly
   misleading offering materials that Stenger and Quiros provided to investors. Because Plaintiffs
   fail to plausibly allege a conscious knowing intent by R.J. to assist Stenger and Quiros in stealing

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     See Am. Dental, 605 F.3d at 1291 (“Because plaintiffs’ section 1962(c) claim is based on …
   acts of mail and wire fraud, their substantive RICO allegations must comply … with …
   Fed.R.Civ.P. 9(b)’s heightened pleading standard….”)

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   money, the RICO claim cannot survive.
          B. Plaintiffs Fail to Plausibly Allege Facts Demonstrating Deception (Racketeering
             Activity) by R.J.

          The crux of a RICO claim predicated on fraud is an intent to defraud by deception. Am.
   Dental Ass’n., 605 F.3d at 1291-92 (“We have held that a plaintiff must allege that some kind of
   deceptive conduct occurred in order to plead a RICO violation predicated on mail fraud.”) (citing
   Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1065 (11th Cir. 2007) (affirming dismissal
   of RICO claim where complaint failed to allege any affirmative misrepresentations)).
          Plaintiffs attempt to allege that R.J. “facilitated an intricate web of transfers among
   various accounts at R.J. to disguise the fact that most of the eight projects were either over
   budget or experiencing shortfalls.” (Am. Compl. ¶ 327(f).) The fatal flaw, is that, as discussed,
   R.J. never provided false or misleading financial account information to any investors or ever
   undertook to do so. Nor is there any allegation that R.J. expected any investor to receive account
   information from R.J. Thus, the allegations do not even satisfy Rule 8(a), let alone Rule 9(b).
   See Am. Dental, 605 F.3d at 1291-92 (“[N]or do they allege the manner in which they were
   misled by the documents, as they are required to do under Rule 9(b).”).
          C. Plaintiffs Fail to Plausibly Allege That the Members of the Alleged RICO
             Enterprise Shared a Common Purpose.

          An essential element of a RICO enterprise is that its alleged members shared a common
   purpose. Boyle v. United States, 556 U.S. 938, 948 (2009) (“[A]n association-in-fact enterprise
   is simply a continuing unit that functions with a common purpose.”). Plaintiffs allege that
   Quiros, R.J., and Burstein were part of a RICO enterprise whose common purpose was to
   deceive investors into believing that their funds were being used for the purposes described in
   the offering materials. Am. Compl. ¶ 322. Plaintiffs’ allegations fail to give rise to a plausible
   inference that Quiros, R.J., and Burstein shared such a common purpose.
          The Eleventh Circuit recently issued an opinion addressing this very issue in an
   analogous case, Ray v. Spirit Airlines, Inc., 2016 WL 4578347, __ F.3d __ (11th Cir. Sep. 2,
   2016). In Ray, Spirit Airlines customers alleged that Spirit misled them into buying tickets
   because Spirit used an internet platform that portrayed its “Passenger Usage Fee” as a
   government-imposed fee when, in fact, it was a portion of a fee charged by Spirit. Id. at *1. The
   plaintiffs alleged that Spirit was part of a RICO enterprise with software vendors and consultants


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   who helped create the internet platform, and that all of the members of the enterprise shared the
   common purpose of defrauding Spirit customers by tricking them into thinking that they were
   paying a government-imposed fee when they were paying a fee to Spirit. Id. at *3.
           In deciding whether the pleading plausibly alleged a shared common purpose, the Court
   began by rejecting the purely conclusory allegation of a “shared common purpose” and searched
   for factual allegations that actually gave rise to a plausible inference that the members shared a
   common purpose to defraud Spirit customers. Ray, 2016 WL 4578347 at *8. The Court found
   that the plaintiffs failed to adequately plead a common purpose because:
           Nowhere in the complaint do the plaintiffs allege facts giving rise to a plausible
           inference that the various technology vendors and consultants … were in any way
           involved in the actual decisions of how to portray the Passenger Usage Fee, knew
           the true nature of the fee, or worked intentionally to misrepresent the fee. Thus,
           passing over the complaint’s wholly conclusory claims, there is no plausible
           allegation that these vendors knowingly cooperated with Spirit in a scheme that
           involved misrepresenting the Passenger Usage Fee….

   Id. at *8-9.
           Just as in Ray, Plaintiffs’ Amended Complaint fails to allege any facts giving rise to a
   plausible inference that R.J. and Burstein were involved in how to portray the Jay Peak Project to
   investors through the offering materials, which only Stenger and Quiros are alleged to have been
   involved with. Nor are there any allegations that R.J. and Burstein were reviewing the offering
   materials being sent to investors or were aware that they were supposedly false, or that R.J. and
   Burstein worked intentionally to misrepresent the Jay Peak project to investors. Just as in Ray,
   Plaintiffs have failed to allege facts sufficient to plausibly show that R.J. and Burstein shared a
   common purpose with Quiros to mislead investors through the offering materials.
           D. Plaintiffs Fail to Plausibly Allege a Direct Injury.
           A RICO plaintiff must also allege facts showing that the defendant’s racketeering
   conduct directly led to (was the proximate cause of) the plaintiff’s claimed injury.     See Ray,
   2016 WL 4578347 at *5 (“[P]leading a civil RICO claim requires that plaintiffs plead facts
   sufficient to give rise to a reasonable inference that the claimed racketeering activity—here, the
   misrepresentation of the Passenger Usage Fee through mail and wire fraud—was the but-for and
   proximate cause of the plaintiffs’ injuries.”) To satisfy the proximate causation requirement in a
   fraud case, a plaintiff must plead facts – with specificity – showing that its injury was caused by
   some reliance on the defendant’s misrepresentations.       The Eleventh Circuit confirmed this

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   requirement in Ray, where the plaintiffs alleged that merely purchasing a ticket and paying the
   unlawful passenger fee, by itself, amounted to reliance on Spirit’s fraudulent conduct. Id. The
   Court rejected that argument:
           [The] second amended complaint …does not allege a direct link—or, indeed, any
           link at all—between Spirit’s presentation of its Passenger Usage Fee and the
           plaintiffs’decision to purchase tickets on Spirit’s website. It pleads causation only
           at the highest order of abstraction and supports the claim only with conclusory
           assertions…. In short,…[t]he plaintiffs have pled nothing even remotely
           suggesting that they—or anyone else for that matter—would have acted at all
           differently had Spirit been clearer in its presentation and description of the
           Passenger Usage Fee.

   Ray, 2016 WL 4578347 at *6. Similar to the claims in Ray, Plaintiffs here complain that the
   offering materials sent by Stenger and Quiros to prospective investors were fraudulent because
   they did not specifically identify that Quiros would manage the money; that the Limited
   Partnerships’ money would be held in R.J. accounts; that the money would be used to purchase
   Treasuries; or that the money would be used as collateral for loans that R.J. extended for the
   development of the Jay Peak Project. Plaintiffs fail to allege any facts making it plausible that
   the investors would not have invested the money necessary to obtain their green cards had they
   known about this information. Moreover, as mentioned, Plaintiffs did not even know of R.J.’s
   existence, as they had no interaction with R.J. and R.J. was never mentioned in any of the
   offering documents that Quiros and Stenger sent to prospective investors.
           In addition, Plaintiffs cannot show that R.J. was the proximate cause of injury to the
   Limited Partnerships because Quiros’s alleged theft of the funds following the transfers was an
   intervening cause that broke the chain of causation.           See O’Halloran, 350 F.3d at 1205
   (observing that “a bank … has the right to assume that individuals who have the legal authority
   to handle the entity’s accounts do not misuse the entity’s funds.”). For all of these reasons,
   Plaintiffs fail to plausibly allege a direct injury caused by R.J.
   VII.    Plaintiffs Fail to Plead a Claim for RICO Conspiracy (Count XIII).

           Plaintiffs fail to allege facts to plausibly suggest the existence of the most basic aspect of
   a RICO conspiracy based on a fraudulent scheme to steal money – an actual agreement between




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   R.J. and Quiros to steal the money.8 See Solomon, 574 F. Supp. 2d at 1291 (“The essence of a
   RICO conspiracy claim is that each defendant has agreed to participate in the conduct of an
   enterprise’s illegal activities.”) (emphasis added); In re Managed Care Litig., 430 F. Supp. 2d at
   1345 (“[P]roof of the agreement is at the heart of a conspiracy claim.”)
          Here, Plaintiffs offer only the flawed assertion that an agreement by R.J. with Quiros to
   defraud the investors can be “reasonably inferred from their close professional relationship, their
   mutual financial gain resulting from their pattern of racketeering activity, their use of bank
   accounts and property, their use of the R.J. accounts in Florida, and the dependency of the
   fraudulent acts of each on the fraudulent acts of the others. The RICO Defendants’ agreement
   was manifested by the number and similarity of the racketeering offenses committed herein.”
   Am. Compl. ¶ 383. These are precisely the types of conclusory allegations that have been found
   to be inadequate because they fail to “elaborate[e] about when or how [the defendants] formed
   the agreement to violate RICO and [do] not allege who made the agreement, when the agreement
   was made, or how the Defendants made the agreement.” Solomon, 574 F. Supp. 2d at 1292
   (emphasis added).    Establishing a financial structure and carrying out traditional financial
   transactions does not constitute a conspiratorial agreement to do something wrong.
                                           CONCLUSION

          For the foregoing reasons, Plaintiffs’ claims should be dismissed.

          Dated: September 19, 2016.




   8
     The heightened pleading standard also applies to RICO conspiracies. See Am. Dental, 605 F.3d
   at 1293-96 (allegations that “[e]ach Defendant and member of the conspiracy, with knowledge
   and intent, agreed to the overall objective of the conspiracy, agreed to commit acts of fraud …”
   and actually committed such acts are the “formulaic recitations” of conspiracy that the Court in
   Twombly and Iqbal held insufficient); Solomon, 574 F. Supp. 2d at 1292 (dismissing RICO
   conspiracy claim because the allegations only identified the entities “without elaborating about
   when or how those entities formed the agreement to violate RICO,…who made the agreement,
   when the agreement was made, or how the Defendants made the agreement.”).

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                                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this on September 19, 2016, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF or in the manner stated in the service list attached.


                                                s/ Stanley H. Wakshlag
                                                Stanley H. Wakshlag




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                                         SERVICE LIST
                        US District Court, Southern District of Florida
                                 Case No. 16-CV-21575-FAM
              Alexandre Daccache, et al. v. Raymond James & Associates, Inc.., et al.

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